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                UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF WEST VIRGINIA
----------------------------------------

DIANA MEY, individually and on behalf of a class                 No.: 5:18-cv-161
of all persons and entities similarly situated,

                       Plaintiff,

         -against-

PROTECT AMERICA, INC.,
WAHAB GLOBAL COMMUNICATIONS, LLC
and MAHTAB AFGAN,


               Defendant.
----------------------------------------

               STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                             FED. R. CIV. P. 41(a)(1)(A)(ii)

       Plaintiff, DIANA MEY, and defendant, PROTECT AMERICA, INC., by and through

their respective attorneys, HEREBY STIPULATE AND AGREE, that pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii), this entire action is dismissed in its entirety with prejudice as

to Diana Mey’s individual claims against defendants Protect America, Inc., Wahab Global

Communications, LLC and Mahtab Afgan, , and without prejudice as to the claims of the

putative class members.

       IT IS SO STIPULATED.


Dated: February 20, 2019                       BAILEY & GLASSER LLP

                                       By: /s/John W. Barrett
                                              John W. Barrett (WV Bar No. 7289)
                                              209 Capitol Street
                                              Charleston, WV 25301
                                              Telephone: (304) 345-6555
                                              jbarrett@baileyglasser.com
                                              Counsel for Plaintiff



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Dated: February 20, 2019           DINSMORE & STOHL LLP

                             By:   /s/ Jacob A. Manning
                                   Jacob A. Manning (WV Bar No. 9694)
                                   2100 Market Street
                                   Wheeling, WV 26003
                                   Telephone: (304) 230-1700
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                                   Counsel for Defendant Protect America, Inc.




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                                CERTIFICATE OF SERVICE

       I, John W. Barrett, hereby certify that on February 20, 2019, I caused to be filed the
foregoing with the Clerk of the Court using the CM/ECF System, which caused a true and
accurate copy of such filing to be served upon all attorneys of record.


                                                     /s/ John W. Barrett
                                                     John W. Barrett (WV Bar No. 7289)
                                                     Bailey & Glasser LLP
                                                     209 Capitol Street
                                                     Charleston, West Virginia 25301
                                                     Telephone: (304) 345-6555
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